                       Case 1:21-cr-00371-RC Document 1 Filed 03/29/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                      DistrictDistrict
                                                 __________    of Columbia
                                                                       of __________

                  United States of America                        )
                              v.                                   )
                       Jonah Westbury
                                                                   )      Case No.
                                                                   )
                     D.O.B: XX-XX-XXXX                             )
                                                                   )
                                                                   )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   January 6, 2021              in the county of                                  in the
                       District of           Columbia          , the defendant(s) violated:

            Code Section                                                     Offense Description
18 U.S.C. §§ 1752(a)(1)                         -Entering and Remaining in a Restricted Building and Grounds
18 U.S.C. §§ 1752(a)(2)                         -Disorderly and Disruptive Conduct in a Restricted Building and Grounds
40 U.S.C. §§ 5104(e)(2)(D)                      -Disorderly and Disruptive Conduct in a Capitol Building and Grounds
40 U.S.C. §§ 5104(e)(2)(G)                      -Parading, Demonstrating, or Picketing in a Capitol Building




         This criminal complaint is based on these facts:
See attached statement of facts, incorporated herein by reference.




         ✔ Continued on the attached sheet.
         u


                                                                                              Complainant’s signature

                                                                                        Julie Hendrix, Special Agent
                                                                                               Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3E\
7HOHSKRQH VSHFLI\UHOLDEOHHOHFWURQLFPHDQV                                                             Zia M. Faruqui
                                                                                                          2021.03.29 22:43:40
Date:             03/29/2021                                                                              -04'00'
                                                                                                Judge’s signature

City and state:                         Washington, D.C.                         ZIA M. FARUQUI, U.S. Magistrate Judge
                                                                                               Printed name and title
